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           United States District Court for the District of Maryland

United States of America                   *

      v.                                   *         Crim. No. 1:16-cr-00484-JKB-2

Bohl, et al.                               *
      [Rozlyn Bratten]

                 Motion to Adopt Other Defendants’ Motion(s)

      Pursuant to Fed. R. Crim. P. 12(b), the defendant Rozlyn Bratten moves to

adopt the motion(s) submitted by other defendants in this case, as they may apply to

her and to the extent they are not inconsistent with any motions specifically filed by

her. In support defendant states:

      1.     Counsel anticipates extensive pre-trial motions and memoranda by the

other defendant(s) in this case and U.S. v. Bell, et al., 1:16-cr-00485-JKB.

      2.     Counsel hopes to avoid repetition and duplication.


                               Request for Hearing

      Pursuant to Loc. R. 105.6, defendant requests a hearing.


                                                                  /s/
                                               William L. Welch, III
                                               111 South Calvert Street, Suite 2700
                                               Baltimore, Maryland 21202
                                               wlw@wwelchattorney.com
                                               Telephone: (410) 385-5630
                                               Facsimile: (866) 875-3758
                                               Counsel for Rozlyn Bratten

                               Certificate of Service
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      I hereby certify that on this 6th day of June, 2017 a copy of the foregoing Motion

to Adopt Other Defendants’ Motion(s) was delivered electronically to Messrs. Leo

Joseph       Wise      (Leo.Wise@usdoj.gov),        Robert       Reeves        Harding

(robert.harding@usdoj.gov), and Daniel Charles Gardner (daniel.gardner@usdoj.gov)

Office of the United States’ Attorney, 36 South Charles Street, Fourth Floor,

Baltimore, Maryland 21201.


                                                                  /s/
                                               William L. Welch, III




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